         Case 2:07-cr-00381-WBS Document 38 Filed 05/01/08 Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,             ) Case No. CR.S-07-0381-EJG
                                      )
                   Plaintiff,         )
                                      )
     v.                               )      ORDER TO
                                      ) CONTINUE STATUS CONFERENCE
Rigoberto Rodriguez-Navarro,          )
et al.                                )
                                      )
               Defendants.            )
_______________________________


     GOOD CAUSE APPEARING, it is hereby ordered that the May 2,

2008 status conference be continued to June 6, 2008 at 10:00 a.m.

I find that the ends of justice warrant an exclusion of time and

that the defendant’s need for continuity of counsel and

reasonable time for effective preparation exceeds the public

interest in a trial within 70 days.         THEREFORE IT IS FURTHER

ORDERED that time be excluded pursuant to 18 U.S.C. §

3161(h)(8)(B)(iv) and Local Code T4 from the date of this order

to June 6, 2008.



IT IS SO ORDERED.

Dated:      April 30, 2008           /s/ Edward J. Garcia
                                    Edward J. Garcia
                                    Senior United States District
                                    Court Judge
